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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


BAKER MAYFIELD, EMILY MAYFIELD,
and TEAM BRM, LLC,

              Plaintiffs,

v.                                                     Civil No. 1:24-cv-1455


CAMWOOD CAPITAL MANAGEMENT
GROUP, LLC, TEXAS CONTRACT
MANUFACTURING GROUP, INC.,
UNITECH TOOL & MACHINE, INC., APEX
MACHINING, INC., and LOR-VAN
MANUFACTURING, INC.,

              Defendants.


                                         COMPLAINT

       NOW COME Plaintiffs BAKER MAYFIELD, EMILY MAYFIELD, and TEAM BRM,

LLC (collectively, “Plaintiffs”), for their Complaint against Defendants CAMWOOD CAPITAL

MANAGEMENT           GROUP,       LLC     (“Camwood        Capital”),    TEXAS       CONTRACT

MANUFACTURING GROUP, INC. (“TCMG”), UNITECH TOOL & MACHINE, INC.

(“Unitech”), APEX MACHINING, INC. (“Apex”), and LOR-VAN MANUFACTURING, INC.

(“Lor-Van”) (Camwood Capital, TCMG, Unitech, Apex, and Lor-Van are collectively,

“Defendants”), allege as follows:

                                      Nature of the Case

       1.     Plaintiffs bring this action to recover substantial assets that were improperly taken

from them and never repaid by Defendants.

       2.     From approximately 2018 to 2021, Defendants, a collection of interconnected

entities with common ownership, transferred more than $12 million from Plaintiffs to themselves
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without authorization, proper documentation, or adequate accounting of the transactions.

Defendants then used those assets however they desired, including to fund acquisitions or to cover

general operating expenses (such as to meet payroll obligations). For the period of time that

Plaintiffs’ funds were being funneled to Defendants, Plaintiffs were the primary source of funding

and capitalization for Defendants. In exchange, Plaintiffs received nothing.

        3.      Once Plaintiffs began to uncover Defendants’ misconduct and sought answers to

explain the taking of their assets, Defendants attempted to obscure the relevant information,

avoided Plaintiffs’ inquiries, and invented fictional explanations for their actions. None of those

efforts could alter the reality that Defendants took money from Plaintiffs with no plan or ability to

repay it.

        4.      Plaintiffs and Defendants entered into a Confidential Settlement and Release

Agreement effective January 23, 2024 (the “Settlement Agreement”).

        5.      Pursuant to the Settlement Agreement: (1) Camwood Capital was obligated to

repay a total of $11,741,000.00, plus interest, on a schedule beginning September 30, 2024;

(2) Defendants were obligated to refinance an existing loan to free up capital to repay Plaintiffs

the amounts owed; and (3) Defendants were obligated to provide Plaintiffs access to Defendants’

books and records.

        6.      It is now clear that Defendants had no intention of making Plaintiffs whole when

they entered into the Settlement Agreement. To date, Camwood Capital has not repaid even one

dollar under the Settlement Agreement, Defendants have failed to refinance their existing loan,

and Defendants have not provided Plaintiffs with access to their books and records (continuing a

pattern and practice of preventing Plaintiffs from accessing pertinent information). In other words,




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Defendants have satisfied none of their obligations and have refused even to respond to Plaintiffs’

outreaches about those breaches.

       7.      As a result, Plaintiffs have been left with no choice but to file suit for breach of the

Settlement Agreement to recover the assets improperly taken from them.

                                              Parties

       8.      Plaintiffs Baker Mayfield and Emily Mayfield are individuals domiciled in Tampa,

Florida. Plaintiffs Baker Mayfield and Emily Mayfield have a fixed residence in Tampa, Florida

and each intends to remain there indefinitely. Plaintiffs Baker Mayfield and Emily Mayfield own

real and personal property in Tampa, are employed in Tampa, and maintain their family home in

Tampa.

       9.      Plaintiff Team BRM, LLC (“TBRM”) is a Texas limited liability company. Its

members are Baker Mayfield and Emily Mayfield, each of whom is a citizen of Florida.

       10.     Camwood Capital is a Nevada limited liability company with its principal place of

business in Austin, Texas. Camwood Capital’s members are James W. Mayfield and Matt

Mayfield, each of whom is a citizen of Texas.

       11.     TCMG is a Texas corporation with its principal place of business in Austin, Texas.

       12.     Unitech is a Texas corporation with its principal place of business in Austin, Texas.

Unitech was acquired by TCMG in 2022. Another party to the Settlement Agreement, UTM MFG.

Acquisition Corp., merged with Unitech.

       13.     Apex is a Texas Corporation with its principal place of business in Santa Clara,

California. Apex was acquired by TCMG in 2019.

       14.     Lor-Van is a Texas Corporation with its principal place of business in Austin,

Texas. Lor-Van was acquired by TCMG in 2021.




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                                     Jurisdiction and Venue

       15.     This Court has personal jurisdiction over Defendants because they transact business

with companies located in Texas and entered into the Settlement Agreement at issue in this case

in Texas.

       16.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(a) because it arises between citizens of different states and the amount in controversy

exceeds $75,000.

       17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to the claims for relief occurred in this district. Additionally, the

Settlement Agreement provides that “Texas [is] the sole and exclusive forum for any and all

controversies or claims arising out of or related to [the Settlement] Agreement. ”

                                           Background

       18.     Beginning in 2018, substantial sums of money belonging to Baker and Emily

Mayfield were transferred by Defendants, from Baker and Emily Mayfield’s personal accounts

and TBRM’s accounts, primarily to TCMG.

       19.     Those funds were taken without authorization and with an apparent belief by

Defendants that they need not be repaid. Defendants did not book or account for any indebtedness

from TCMG (or any other Defendant) to Plaintiffs, nor did Plaintiffs receive any equity interest in

any Defendant company.

       20.     Plaintiffs’ assets were then distributed and used by Defendants seemingly however

Defendants pleased, including to pay general operational expenses, without proper accounting or

explanation.

       21.     Following Plaintiffs’ discovery of the unauthorized transfers, the parties entered

into the Settlement Agreement. As a term of the Settlement Agreement, Defendants agreed that


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assets belonging to Plaintiffs totaling more than $12.2 million were transferred, directly or

indirectly, from Plaintiffs to TCMG. The Settlement Agreement imposed certain repayment and

reporting obligations on Defendants, at least three of which Defendants have materially breached.

                                  The Repayment Obligation

        22.    The Settlement Agreement provides that “Camwood Capital shall cause [TBRM]

to be paid the total sum of Eleven Million Seven Hundred Forty-One Thousand Dollars and No

Cents ($11,741,000.00),” plus interest, on an agreed-upon payment schedule.

        23.    The first obligation under that payment schedule required Camwood Capital to

cause TBRM to receive $250,000.00, plus interest, on or before September 30, 2024.

        24.    Camwood Capital failed to cause TBRM to receive the $250,000.00 payment by

September 30, 2024.

        25.    After that initial payment, to satisfy the entire repayment obligation, Camwood

Capital is obligated to cause TBRM to receive: (1) $250,000.00, plus interest, on or before

December 31, 2024; (2) $3,000,000.00, plus interest, on or before December 31, 2025;

(3) $3,000,000.00, plus interest, on or before December 31, 2026; (4) $3,000,000.00, plus interest,

on or before December 31, 2027; and (5) $2,241,000.00, plus interest, on or before December 31,

2028.

        26.    Camwood Capital has not caused TBRM to receive any payments under the

Settlement Agreement.

        27.    Under the Settlement Agreement, the failure to make any one of the required

settlement payments is an “Event of Default.”

        28.    Upon the occurrence of an Event of Default, including the failure to make

payments when due, all amounts due under the Settlement Agreement are accelerated and

immediately due and payable, without any election by Plaintiffs.


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       29.    Accordingly, Camwood Capital is obligated to immediately repay the full

$11,741,000.00, plus interest, based on its failure to satisfy its payment obligations.

                                  The Refinance Obligation

       30.    TCMG, Apex, Lor-Van, Unitech, and UTM entered into a certain term loan

agreement in approximately 2022 (the “Third Party Loan”).

       31.    Pursuant to the Settlement Agreement, Defendants were obligated to refinance the

Third Party Loan with a new lender, and prepay the entire outstanding principal and interest

amount on the Third Party Loan, on or before September 30, 2024.

       32.    Defendants have failed to refinance the Third Party Loan. By emails dated August

30, 2024, September 5, 2024, and September 27, 2024, Plaintiffs (through counsel) requested

information on the status of Defendants’ refinance of the Third Party Loan. Defendants did not

respond to any of those messages.

       33.    The September 30, 2024 deadline to refinance has passed, and Plaintiffs have

received no information or confirmation that the refinance has occurred.

       34.    The failure to timely refinance the Third Party Loan by September 30, 2024 is an

Event of Default under the Settlement Agreement.

       35.    Upon the occurrence of an Event of Default, including the failure to refinance the

Third Party Loan, all amounts due under the Settlement Agreement are accelerated and

immediately due and payable, without any election by Plaintiffs.

       36.    Accordingly, Camwood Capital is obligated to immediately repay the full

$11,741,000.00, plus interest, based on Defendants’ failure to refinance the Third Party Loan.

                             The Books and Records Obligation

       37.    The Settlement Agreement obligates Defendants to provide Plaintiffs copies of all

board materials and quarterly financial documents prepared by any of the Defendants as soon as


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reasonably practicable after they are prepared, but in no event later than seven days after they are

finalized.

       38.     Defendants have never provided Plaintiffs any of the required financial materials.

       39.     By emails dated August 30, 2024, September 5, 2024, and September 27, 2024,

Plaintiffs (through counsel) requested the overdue books and records. Defendants did not respond

to any of those messages.

       40.     The failure to timely provide access to Defendants’ books and records is an Event

of Default under the Settlement Agreement.

       41.     Upon the occurrence of an Event of Default, including the failure to provide access

to books and records, all amounts due under the Settlement Agreement are accelerated and

immediately due and payable, without any election by Plaintiffs.

       42.     Accordingly, Camwood Capital is obligated to immediately repay the full

$11,741,000.00, plus interest, based on Defendants’ failure to provide access to their books and

records pursuant to the Settlement Agreement.

                                 Count I – Breach of Contract

       43.     Plaintiffs reallege and incorporate by reference Paragraphs 1–42 of this Complaint

as if fully alleged in this Paragraph.

       44.     The Settlement Agreement is a valid and enforceable contract between Plaintiffs

and Defendants.

       45.     Plaintiffs fully performed all of their obligations under the Settlement Agreement.

       46.     All conditions precedent to Plaintiffs’ recovery and Defendants’ liability have been

performed or have occurred.

       47.     Camwood Capital materially breached the Settlement Agreement by failing to

satisfy its repayment obligations.


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          48.    Additionally, Defendants materially breached the Settlement Agreement by:

                 (a)    Failing to refinance the Third Party Loan; and

                 (b)    Failing to provide access to Defendants’ books and records.

          49.    As a result of Defendants’ material breaches, Camwood Capital is obligated to

repay Plaintiffs the entire amount due and owing under the Settlement Agreement, including

interest.

          50.    Defendants are jointly and severally liable for the repayment obligation because

Defendants have abused their corporate forms as a sham to promote a fraud or injustice on

Plaintiffs. Although Plaintiffs’ money was primarily transferred directly to TCMG, Camwood

Capital has asserted that it was the party who directed the transfers and sought to assume the

repayment obligation. In reality, Plaintiffs believe the money was funneled through TCMG to

fund various acquisitions, payroll obligations, loan servicing obligations, and other expenses

among the Defendant entities. Defendants share common ownership and control, there is a lack

of record keeping within the Defendant entities, and Defendants are inadequately capitalized. On

information and belief, Camwood Capital did not maintain any financial statements during the

relevant period, and neither Camwood Capital nor TCMG filed tax returns during the relevant

period.

          51.    As a result of Defendants’ breaches, Plaintiffs have been damaged in an amount of

not less than $11,741,000.00, plus interest.

                                          Attorneys’ Fees

          52.    Plaintiffs are entitled to their attorneys’ fees under Section 38.001 of the Texas

Civil Practice & Remedies Code.

          WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor

and against Defendants on Count I and order the following relief:


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      (a)    The award of compensatory damages in an amount to be determined at trial, but not

less than $11,741,000.00;

      (b)    Costs and attorneys’ fees pursuant Tex. Civ. Code § 38.001;

      (c)    Pre- and post-judgment interest;

      (d)    Any other relief that the Court deems just and proper.

                                                  Respectfully submitted,

                                                  BAKER MAYFIELD, EMILY
                                                  MAYFIELD, and TEAM BRM, LLC



                                                  By: /s/ Arianna G. Goodman
                                                               Arianna G. Goodman

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